40 F.3d 1248
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.VULCAN INTERNATIONAL INC. and Vulcan Equipment Company,Inc., Plaintiffs-Appellees,v.JERR-DAN CORPORATION, Defendant-Appellant.
    No. 94-1367.
    United States Court of Appeals, Federal Circuit.
    Sept. 8, 1994.
    
      1
      CASE DISMISSED.
    
    ON MOTION
    ORDER
    
      2
      Upon consideration of the unopposed motion of Jerr-Dan Corporation to voluntarily dismiss its appeal,
    
    IT IS ORDERED THAT:
    
      3
      (1) The motion is granted and the case is dismissed.
    
    
      4
      (2) Each side shall bear its own costs.
    
    